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          1     Mark J. Werksman, Esq. - CSB No. 120767
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          2     801 South Figueroa Street, 11 Floor
                Los Angeles, California 90017
          3     Tel: (213) 688-0460 /Fax: (213) 624-1942
          4     Attorneys for Defendant
                Roza Gasparian
          5

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          8                          UNITED STATES DISTRICT COURT
          9                        EASTERN DISTRICT OF CALIFORNIA
         10

         11     THE UNITED STATES OF           )             CASE NO. 05 CR 00343 FCD
                AMERICA,                       )
         12                                    )             STIPULATION AND ORDER RE
                          Plaintiff,           )             CONTINUANCE OF STATUS
         13                                    )             CONFERENCE/CHANGE OF PLEA
                     v.                        )
         14                                    )             Date:     January 8, 2007
                MANUK SHUKBARALYAN, et. al. )                Time:     10:00 a.m.
         15                                    )
                                               )
         16               Defendant.           )             "AS MODIFIED"
                                               )
         17     ______________________________ )
         18
                TO THE HONORABLE FRANK D. DAMRELL, UNITED STATES
         19
                DISTRICT JUDGE:
         20
                        Defendant, Roza Gasparian, by and through her counsel of record, the Law
         21
                Offices Of Mark J. Werksman, Defendant, Manuk Shukbaralyan, by and through
         22
                his counsel of record, Jilbert Tahmazian, Defendant, Yurik Shakhbazyan, by and
         23
                through his counsel of record, Fred G. Minassian, and the United States of
         24
                America, by and through Assistant United States Attorney Steven Lapham hereby
         25
                agree and stipulate that the case be continued from January 8, 2007 until
         26
                 February 26, 2007 ast 10:00 a.m. for Status Conference and Change of Plea.
         27

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Law Offices of Mark J. Werksman
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Los Angeles, CA 90017                                    1
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          1             The continuance is necessary because the Assistant United States Attorney
          2     will shortly be providing all counsel a written plea agreement. Defense counsel
          3     needs time to review the agreements and work with their clients to ascertain the
          4     amount of loss attributable to each defendant.
          5     IT IS FURTHER STIPULATED
          6             For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §3161 et seq.,

          7     within which the status conference must commence, the time period of October 10, 2006 to

          8     November 20, 2006, inclusive, is deemed excludable pursuant to 18 U.S.C. §3161 et seq.

          9     3161(h)(8)(A) & (B)(iv), Local Code T-4

         10     IT IS SO STIPULATED
         11

         12     Dated: January 5, 2007                       Respectfully Submitted,
         13

         14                                          By: /s/ Mark J. Werksman (Telephonic Auth.)
                                                          Mark J. Werksman
         15                                               Attorneys for Defendant
                                                          Roza Gasparian
         16

         17     Dated: January 4 , 2007                    United States Attorney
                                                           McGregor W. Scott
         18

         19
                                                     By: /s/ R. Steven Lapham
         20                                              R. Steven Lapham
                                                         Assistant United States Attorney
         21

         22     Dated: January ___, 2007                     Law Offices of Jilbert Tahmazian
         23

         24                                          By:       /s/ Jilbert Tahmazian
                                                             Jilbert Tahmazian, Esq.
         25                                                  Attorneys for Defendant
                                                             Manuk Shukbaralyan
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Los Angeles, CA 90017                                           2
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          1     Dated: January ___, 2007            Minassian & Bagndaian
          2

          3                                   By:    /s/ Fred G. Minassian
                                                    Fred G. Minassian, Esq.
          4                                         Attorneys for Defendant
                                                    Yurik Shakhbazyan
          5

          6
                        IT IS SO ORDERED
          7

          8     Dated: January 5, 2007
          9

         10
                                                _______________________________________
         11                                     FRANK C. DAMRELL, JR.
                                                UNITED STATES DISTRICT JUDGE
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